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 Counsel to the Debtors and Debtors in Possession

 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK

 In re:                                                           )            Chapter 11
                                                                  )
 MIAMI METALS I, INC., et al.1                                    )            Case No. 18-13359 (shl)
                                                                  )
                                   Debtors.                       )            (Jointly Administered)
                                                                  )

                NOTICE OF AMENDED2 AGENDA FOR MATTERS SCHEDULED
                     FOR HEARING ON AUGUST 29, 2019 AT 11:00 A.M.

 Time and Date of Hearing:               August 29, 2019 at 11:00 a.m. (Prevailing Eastern Time)

 Location of Hearing:                    United States Bankruptcy Court for the Southern District of New
                                         York, before the Honorable Sean H. Lane, United States
                                         Bankruptcy Judge, Room 701, One Bowling Green, New York,
                                         NY 10004-1408

       PLEASE TAKE NOTICE that an agenda with respect to all matters set for hearing on
 August 29, 2019 at 11:00 a.m. (EST) is set forth below. Copies of each pleading identified
 below can be viewed and/or obtained by: (i) accessing the Court’s website at
 www.nysb.uscourts.gov, (ii) contacting the Office of the Clerk of Court at One Bowling Green,
 New York, New York 10004, or (iii) from the Debtors’ claims and noticing agent, Donlin

 1 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor's federal tax identification number, include:
 Miami Metals I, Inc. (f/k/a Republic Metals Refining Corporation), 15 West 47th Street, Suites 206 and 209, New York, NY
 10036 (3194); Miami Metals II, Inc. (f/k/a Republic Metals Corporation), 12900 NW 38th Avenue, Miami, FL 33054 (4378);
 Miami Metals III LLC (f/k/a Republic Carbon Company), LLC, 5295 Northwest 163rd Street, Miami Gardens, FL 33014 (5833);
 Miami Metals IV LLC (f/k/a J & L Republic LLC, 12900 NW 38th Avenue, Miami, FL 33054 (7604); Miami Metals V LLC
 (f/k/a R & R Metals, LLC), 12900 NW 38th Avenue, Miami, FL 33054 (7848); Miami Metals VI (f/k/a RMC Diamonds, LLC),
 12900 NW 38th Avenue, Miami, FL 33054 (1507); Miami Metals VII (f/k/a RMC2, LLC, 12900 NW 38th Avenue, Miami, FL
 33054 (4696); Miami Metals VIII (f/k/a Republic High Tech Metals, LLC), 13001 NW 38 Avenue, Miami, FL 33054 (6102),
 12900 NW 38th Avenue, Miami, FL 33054 (1507); Republic Metals Trading (Shanghai) Co., Ltd., 276 Ningbo Road, Huangpu
 District, Shanghai, P.R. 200001 China (1639); and Republic Trans Mexico Metals, S.R.L., Francisco I. Madero No. 55 Piso 5,
 Local 409, Centro Joyero Edificio Central, Delegación Cuauhtémoc, Mexico DF 6000 (2942).
 2
   This amends the Agenda at ECF No. 1365. New items are in bold and italics and removed items are stricken
 through.


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 Recano ("Donlin"), at www.donlinrecano.com/republicmetals. Note that a PACER password is
 required to access documents on the Court’s website.

        PLEASE TAKE FURTHER NOTICE that the Court has approved (as noted on the
 docket) for any party wishing to participate to appear telephonically. Arrangements can be
 made for participation through CourtCall, LLC. CourtCall, LLC can be contacted at (866) 582-
 6878.

                                             AGENDA

 A.       STATUS CONFERENCE

       1.        Scheduling Related to Motions for Summary Judgment under Uniform
 Procedures.

 B.       UNCONTESTED MATTERS

       1.    Debtors' Application to Employ and Retain Liquidator for Debtor Republic
 Trans Mexico Metals, S.R.L. pursuant to 11 U.S.C. §§ 327 and 328 [ECF No. 1238].

              a. Response Deadline: August 22, 2019 at 4:00 p.m. (EDT)

              b. Responses Received: None.

              c. Related Documents: None.

              d. Status: Withdrawn at ECF No. 1336.

       2.      Second Interim Application of Donlin, Recano & Company, Inc. as
 Administrative Agent for the Debtors for Compensation for Services and Reimbursement
 of Expenses for the Period From March 1, 2019 Through June 30, 2019 [ECF No. 1285].

              a. Response Deadline: August 22, 2019 at 4:00 p.m. (EDT)

              b. Responses Received: None.

              c. Related Documents: None.

              d. Status: Going forward on final basis.

       3.    Debtors’ Motion for Approval of Settlement by and among Debtors, Senior
 Lenders, and Minas de Oroco Resources, S.A. de C.V., Pursuant to Federal Rule of
 Bankruptcy Procedure 9019 [ECF No. 1246].

              a. Response Deadline: August 22, 2019 at 4:00 p.m. (EDT)



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              b. Responses Received: None


              c. Related Documents:
                     i. Declaration of Scott Avila in Support of Debtors' Motion for Approval of
                        Settlement by and among Debtors, Senior Lenders, and Minas de Oroco
                        Resources, S.A. de C.V., Pursuant to Federal Rule of Bankruptcy
                        Procedure 9019 [ECF No. 1352].

              d. Status: Going forward on final basis.

        4.      Debtors' First Omnibus Objection to Claims Asserted Pursuant to 11 U.S.C.
 § 503(b)(9) (Inconsistent with Debtors' Books and Records) [ECF No. 1120].

              a. Response Deadline: June 6, 2019 at 4:00 p.m. (EDT)

              b. Responses Received:
                    i. Informal response by Design Gold Group [Claim No. 385].

                     ii. Midwest Refineries, LLC's Response to the Debtors' First Omnibus
                         Objection to Claims [ECF No. 1165].

                    iii. Atlantic Gold & Silver Buyers, LLC's letter response to the Debtors' First
                         Omnibus Objection to Claims [ECF No. 1170].

                    iv. Opposition of PPS, Inc. d/b/a Braswell & Son to Debtors' First Omnibus
                        Objection to Claims [ECF No. 1174].

                     v. Response by Geib Refining Corp. to the Debtors' First Omnibus Objection
                        to Claims [ECF No. 1245].

              c. Related Documents:
                     i. Notice of Filing Corrected Schedules to Correct Claim Numbers [ECF No.
                        1135].

                     ii. Request for continuance by Geib Refining Corp. [Claim Nos. 212, 213].

                    iii. Order Sustaining Debtors' First Omnibus Objection to Claims Asserted
                         Pursuant to 11 U.S.C. § 503(b)(9) (Inconsistent with Debtors' Books and
                         Records) [ECF No. 1262].

              d. Status:
                      i. Not going forward as to any objecting party on August 29, 2019.
                     ii. Resolved as to Design Gold Group.
                    iii. Going forward as to Geib Refining Corp. for evidentiary hearing, on
                         October 31, 2019.

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         5.    Debtors’ Motion for Entry of Interim and Final Orders (I) Authorizing the
 Debtors to Use Cash Collateral, (II) Granting Adequate Protection to the Secured Parties,
 (III) Scheduling a Final Hearing and (IV) Granting Related Relief [ECF No. 10].

              d. Response Deadline: November 21, 2018 at 4:00 p.m. (EST)

              e. Responses Filed:
                    i. Limited Objection of Alamos Gold Inc. and its Subsidiaries, Minas de Oro
                       Nacional, S.A. de C.V. and Minera Santa Rita S. de R.L. de C.V. to the
                       Debtors Cash Collateral Motion and Supplement to the Cash Collateral
                       Motion [ECF No. 121].

                    ii. Limited Objection SCMI US Inc. to the Debtors' Cash Collateral Motion
                        and Joint Supplement to the Cash Collateral Motion [ECF No. 137].

                    iii. Limited Objection of Premier Gold Mines Limited to Debtors' Motion for
                         Entry of Final Order (I) Authorizing the Debtors to Use Cash Collateral,
                         (II) Granting Adequate Protection of the Secured Parties and (III) Granting
                         Related Relief [ECF No. 144].

                    iv. Objection of Coeur Mining, Inc., Coeur Mexicana S.A. De C.V., Coeur
                        Rochester, Inc. and Wharf Resources (U.S.A.), Inc. to (A) Debtors'
                        Motion for Entry of Final Order (I) Authorizing the Debtors to Use Cash
                        Collateral, (II) Granting Adequate Protection of the Secured Parties and
                        (III) Granting Related Relief, and (B) Joint Supplement of the Debtors and
                        the Senior Lenders to the Cash Collateral Motion [ECF No. 146].

                     v. Joint Objection of Argonaut Gold Inc., First Majestic Silver Corp., and
                        Mitchell T. Levine to Debtors' Motion for Entry of Interim and Final
                        Orders (I) Authorizing the Debtors to Use Cash Collateral, (II) Granting
                        Adequate Protection to the Secured Parties, (III) Scheduling a Final
                        Hearing and (iv) Granting Related Relief [ECF No. 147].

                    vi. Objection of Midwest Refineries, LLC to Entry of Final Case Collater
                        [sic] Order [ECF No. 148].

                   vii. Limited Objection and Reservation of Rights Re: Debtor's Motion for Use
                        of Cash Collateral filed by Alex Morningstar Corp., Deb Schott, Inc., FCP
                        Diamonds, LLC, Mid-States Recycling, Inc., and Noble Metal Services,
                        Inc. [ECF No. 152].

                   viii. Texas Precious Metals L.L.C.'s Joinder and Limited Objection to the
                         Debtors' Cash Collateral Motion and Supplement to the Cash Collateral
                         Motion and Reservation of Rights [ECF No. 154].



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                ix. Limited Objection of Music City Group, LLC to Debtors' Motion to Use
                    Cash Collateral [ECF No. 157].

                 x. Limited Objection of Minas de Oroco Resources, S.A. de C.V. to Debtors'
                    Motion to Use Cash Collateral [ECF No. 158].

                xi. Limited Objection of Tiffany and Company, on its own behalf and on
                    behalf of Laurelton Sourcing, LLC to (A) Debtors' Motion for Entry of
                    Interim and Final Orders (I) Authorizing the Debtors to Use Cash
                    Collateral, (II) Granting Adequate Protection of the Secured Parties, (III)
                    Scheduling a Final Hearing and (IV) Granting Related Relief, and (B)
                    Joint Supplement of the Debtors and the Senior Lenders to the Cash
                    Collateral Motion [ECF No. 159].

                xii. Objection of Pretium Exploration Inc. to the Debtors' Motion for Entry of
                     a Final Order (I) Authorizing the Debtors to Use Cash Collateral, (II)
                     Granting Adequate Protection to the Secured Parties, (III) Scheduling a
                     Final Hearing, and (IV) Granting Related Relief [ECF No. 161].

               xiii. Yamana Gold Inc.'s Limited Objection to Debtors' Motion for Entry of
                     Interim and Final Orders (I) Authorizing the Debtors to Use Cash
                     Collateral, (II) Granting Adequate Protection to the Secured Parties, (III)
                     Scheduling a Final Hearing, and (IV) Granting Related Relief
                     [ECF No. 162].

               xiv. Limited Objection of Design Gold Group, Inc. to Motion to (I) Approve
                    Use of Cash Collateral, (II) Granting Adequate Protection to the Secured
                    Parties, and (III) Scheduling a Final Hearing [ECF No. 163].

                xv. Limited Objection of Pyropure, Inc. D/B/A Pyromet to the Debtors' Cash
                    Collateral Motion and Supplement to the Cash Collateral Motion
                    [ECF No. 164].

               xvi. Limited Objection, Joinder and Reservation of Rights Concerning Debtors'
                    Motion Seeking Authorization to Use Cash Collateral and Certain Related
                    Relief filed by 7645635 Canada Inc. o/a Ottawa Gold Buyer, Pollock-
                    Cameron Investments Corporation o/a Vancouver Gold Buyer, and
                    7907109 Canada Inc. [ECF No. 174].

               xvii. Objection, Joinder, and Reservation of Rights of Compania Minera
                     Dolores, S.A. de C.V. and Minera Triton Argentina SA to the Debtors'
                     Motion for Entry of Interim and Final Orders (I) Authorizing the Debtors
                     to Use Cash Collateral, (II) Granting Adequate Protection to the Secured
                     Parties, (III) Scheduling a Final Hearing, and (IV) Granting Related Relief
                     [ECF No. 178].



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                 xviii. So Accurate Group, Inc.'s Limited Objection, Joinder, and Reservation of
                        Rights to Debtors' Motion for Entry of Interim and Final Orders (I)
                        Authorizing the Debtors' Use of Cash Collateral, (II) Granting Adequate
                        Protection to the Secured Parties, (III) Scheduling a Final Hearing, and
                        (IV) Granting Related Relief [ECF No. 181].

                  xix. Limited Objection of Brilliant Jewelers/MJJ Inc. to Debtors' Cash
                       Collateral Motion and Supplement to the Cash Collateral Motion and
                       Reservation of Rights [ECF No. 185].

                   xx. Objection of the Official Committee of Unsecured Creditors to Debtors’
                       Motion for Entry of Interim and Final Orders (i) Authorizing the Debtors’
                       Use of Cash Collateral, (ii) Granting Adequate Protection to the Secured
                       Parties, (iii) Scheduling a Final Hearing and (iv) Granting Related Relief,
                       and the Supplemental Motion [ECF No. 193].

                  xxi. Objection of Jason Rubin, Rose Rubin, Lindsey Rubin, the Second
                       Amended and Restated Rose Rubin Revocable Trust U/D/A 9/25/2013,
                       the Amended and Restated Richard Rubin Revocable Trust U/D/A
                       12/8/2008, Republic Metals Warehouse LLC, Richard Rubin Linday
                       Investments, LLC, Jason Ross Rubin Enterprises LLC, and RRLJ12 LLC
                       to the Debtors' Motion for Entry of a Final Order (I) Authorizing the
                       Debtors to Use Cash Collateral, (II) Granting Adequate Protection to the
                       Secured Parties, (III) Scheduling a Final hearing and (IV) Granting
                       Related Relief [ECF No. 199].

                  xxii. Omnibus Reply of the Senior Lenders to Objections to the Debtors’ Cash
                        Collateral Motion [ECF No. 208].

              f. Related Documents:

                     i. Notice of Proposed Amended Cash Collateral Budget [ECF No. 32].

                    ii. Interim Order (I) Authorizing the Debtors to Use Cash Collateral, (II)
                        Granting Adequate Protection to Secured Parties, (III) Scheduling a Final
                        Hearing, and (IV) Granting Related Relief [ECF No. 54].

                   iii. Joint Supplement of the Debtors and the Senior Lenders to the Cash
                        Collateral Motion [ECF No. 78].

                   iv. Notice of Filing Proposed Order [ECF No. 167].

                    v. Motion of Coeur Mining, Inc., Coeur Mexicana S.A. De C.V., Coeur
                       Rochester, Inc. and Wharf Resources (U.S.A.), Inc. to (a) File Documents
                       under Seal and (b) Redact Commercially Sensitive, Nonpublic
                       Information [ECF No. 145].


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                 vi. Yamana Gold, Inc. Ex Parte Motion for Entry of an Order to (i) File a
                     Document Under Seal and (ii) Redact Commercially Sensitive, Nonpublic
                     Information [ECF No. 165].

                vii. Declaration of Atul Kampani in Support of Limited Objection of Brilliant
                     Jewelers/MJJ Inc. to Debtor’s Final Motion to Use Cash Collateral,
                     Granting Adequate Protection, Etc. [ECF No. 186].

                viii. Notice of Proposed Order Continuing Final Hearing on Cash Collateral
                      [ECF No. 209].

                 ix. Notice of Proposed Interim Cash Collateral Budget [ECF No. 212].

                  x. Notice of Proposed Second Interim Cash Collateral Order and Budget
                     [ECF No. 255].

                 xi. Notice of Proposed Alternative Second Interim Cash Collateral Order
                     [ECF No. 260].

                xii. Second Interim Order on Cash Collateral [ECF No. 277].

                xiii. Notice of Proposed Third Interim Cash Collateral Order [ECF No. 318].

                xiv. Notice of Proposed Third Interim Cash Collateral Budget [ECF No. 323].

                xv. Third Interim Order on Cash Collateral [ECF No. 373].

                xvi. Notice of Proposed Fourth Interim Cash Collateral Order and Budget
                     [ECF No. 515].

               xvii. Fourth Interim Order on Cash Collateral [ECF No. 538].

               xviii. Notice of Filing Proposed Fifth Interim Order on Cash Collateral [ECF
                      No. 650].

                xix. Notice of Filing Proposed Fifth Interim Cash Collateral Budget [ECF No.
                     651].

                xx. Fifth Interim Order on Cash Collateral [ECF No. 675].

                xxi. Notice of Proposed Six Interim Cash Collateral order, Blackline Order,
                     and Budget [ECF No. 834].

               xxii. Sixth Interim Order on Cash Collateral [ECF No. 864].



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                  xxiii. Notice of Submission of Proposed Seventh Interim Cash Collateral Order
                         and Blackline Order [ECF No. 945].

                  xxiv. Notice of Filing Revised Blackline of Seventh Interim Cash Collateral
                        Order [ECF No. 949].

                  xxv. Notice of Submission of Revised Proposed Seventh Interim Cash
                       Collateral Order, Blackline Order, and Budget [ECF No. 952].

                  xxvi. Notice of Submission of Further Revised Proposed Seventh Interim Cash
                        Collateral Order, Blackline Order, and Budget [ECF No. 959].

                 xxvii. Seventh Interim Cash Collateral Order [ECF No. 987].

                xxviii. Notice of Submission of Proposed Eighth Interim Cash Collateral Order
                        and Blackline Order [ECF No. 1031].

                  xxix. Notice of Submission of Proposed Eighth Interim Cash Collateral Budget
                        [ECF No. 1043].

                  xxx. Eighth Interim Cash Collateral Order [ECF No. 1160].

                  xxxi. Ninth Interim Cash Collateral Order [ECF No. 1237].

                 xxxii. Tenth Interim Cash Collateral Order [ECF No. 1356].

                xxxiii. Notice of Submission of Proposed Eleventh Interim Cash Collateral
                        Budget [ECF No. 1368].

              d. Status: Going forward on eleventh interim basis.


 Dated: August 27, 2019
                                                  AKERMAN LLP

                                                  By:    /s/Katherine C. Fackler _______
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